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JS 44 (Rev. 11/04)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other paners as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS
Northwest Airlines, Inc.

(b) County of Residence of First Listed Plaintiff

(c) Attorney’s (Firm Name, Address, and Telephone Number)
John C. Kapsner, PO Box 2097, Bismarck, ND 58502; (701) 258-7899

(EXCEPT IN U.S. PLAINTIFF CASES)

Vogel Law Firm

DEFENDANTS
Michael Bauer

Dakota County, Minneso! | County of Residence of First Listed Defendant

Mercer, North Dakota

LAND INVOLVED.

Attorneys (If Known)

(IN U.S, PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES Place an “Xx” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O1 US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Government Not a Party) Citizen of This State G1 CO 1 Incorporated or Principal Place o4 04
of Business In This State
G2 US. Government O14 Diversity Citizen of Another State O2 © 2 Incorporated and Principal Place os a5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O3 © 3 > Foreign Nation O6« 06
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only)
: CONTRACT = : : : ‘+. TORTS FORFEITURE/PENALTY ~ BANKRUPTCY . OTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY |) 610 Agriculture 0 422 Appeal 28 USC 158 © 400 State Reapportionment
C 120 Marine O 310 Airplane (1 362 Personal Injury - C1 620 Other Food & Drug 0 423 Withdrawal O 410 Antitrust
0 130 Miller Act O01 315 Airplane Product Med. Malpractice 1 625 Drug Related Seizure 28 USC 157 O 430 Banks and Banking
0 140 Negotiable Instrument Liability C1 365 Personal Injury - of Property 21 USC 881 C1 450 Commerce
O 150 Recovery of Overpayment [CJ 320 Assault, Libel & Product Liability 1 630 Liquor Laws PROPERTY-RIGHTS 11 460 Deportation
& Enforcement of Judgment Slander C1 368 Asbestos Personal |(7 640 RR. & Truck C1 820 Copyrights CO 470 Racketeer Influenced and
CI 151 Medicare Act C1 330 Federal Employers’ Injury Product O 650 Airline Regs. C7 830 Patent Corrupt Organizations
C7 152 Recovery of Defaulted Liability Liability 1) 660 Occupational 840 Trademark O 480 Consumer Credit |
Student Loans C1 340 Marine PERSONAL PROPERTY Safety/Health CI 490 Cable/Sat TV
(Excl. Veterans) © 345 Marine Product 1 370 Other Fraud ( 690 Other CI 810 Selective Service
CI 153 Recovery of Overpayment Liability C1 371 Truth in Lending Le LABOR | : SOCIAL SECURITY. O 850 Securities/Commodities/
of Veteran’s Benefits 1 350 Motor Vehicle #380 Other Personal O 710 Fair Labor Standards C1 861 HIA (1395ff) Exchange
17 160 Stockholders’ Suits © 355 Motor Vehicle Property Damage Act 0 862 Black Lung (923) 1 875 Customer Challenge
C1 190 Other Contract Product Liability 0) 385 Property Damage O 720 Labor/Mgmt. Relations |O) 863 DIWC/DIWW (405(g)) 12 USC 3410
C1 195 Contract Product Liability ]( 360 Other Personal Product Liability CO) 730 Labor/Mgmt.Reporting | CI) 864 SSID Title XVI CJ 890 Other Statutory Actions
C7 _196 Franchise Injury & Disclosure Act (7 865 RSI (405(g)) J 891 Agricultural Acts
LicUREAL PROPERTY|) =}... CIVIL RIGHTS ‘| PRISONER PETITIONS: -|( 740 Railway Labor Act FEDERAL TAX SUITS ._|(J 892 Economic Stabilization Act
O 210 Land Condemnation O 441 Voting 1 510 Motions to Vacate | 790 Other Labor Litigation |( 870 Taxes (U.S. Plaintiff (1 893 Environmental Matters
0 220 Foreclosure O 442 Employment Sentence 1 791 Empl. Ret. Inc. or Defendant) (1 894 Energy Allocation Act
CO 230 Rent Lease & Ejectment C443 Housing/ Habeas Corpus: Security Act 0 871 IRS—Third Party 1 895 Freedom of Information
OC 240 Torts to Land Accommodations C1 530 General 26 USC 7609 Act
CF 245 Tort Product Liability CI 444 Welfare OQ 535 Death Penalty 1 900Appeal of Fee Determination
© 290 All Other Real Property C1 445 Amer. w/Disabilities - | 540 Mandamus & Other Under Equal Access
Employment OD 550 Civil Rights to Justice
C1 446 Amer. w/Disabilities - ] 555 Prison Condition (1 950 Constitutionality of
Other State Statutes .
C1 440 Other Civil Rights
V. ORIGIN (Place an “X” in One Box Only) Appeal to District
l , 2 3 4... O45 Transferred from -q ¢ oo, C1 7 Judge from
Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate .
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filin 0 not cite jurisdictional statut less diversity):
1S OVE GyUSPe seq. y 8 Do not cite j utes unless diversity)

Brief description of cause: . .
l'rademark intringement, traud and deceit.

VII. REQUESTED IN CJ CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P, 23 JURY DEMAND; Yes ONo
VU. RELATED CASE(S) (See instructions):
IF ANY ‘JUDGE. DOCKET NUMBER
a
DATE SIGNATURE OF ATTORNEY-OF RECORD
(24 ob CO by _—_
FOR OFFICE USE ONLY _— . JS
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

